         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:02CR4-7


UNITED STATES OF AMERICA )
                         )
                         )
         vs.             )                     ORDER
                         )
WALTER ANTHONY WEST      )
                                    )


     THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing pursuant to remand from the United

States Supreme Court. See, United States v. West, 98 Fed. Appx. 259

(4th Cir. 2004), cert. granted, judgment vacated, 543 U.S. 1108 (2005);

see also, 2006 WL 1195219 (4th Cir. 2006).

     IT IS, THEREFORE, ORDERED that this matter is hereby scheduled

for resentencing on TUESDAY, AUGUST 8, 2006, AT 2:00 PM, at the U.S.

Courthouse in Asheville, North Carolina.

     IT IS FURTHER ORDERED that the Federal Defender appoint

counsel to represent the Defendant at resentencing. A revised

presentence report is not necessary for this hearing.




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      IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of

incarceration to the hearing and return him thereto after resentencing. The

United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.

      The Clerk of Court is directed to transmit a copy of this Order

electronically to defense counsel, the United States Attorney, the United

States Marshal, and the United States Probation Office; a copy shall be

furnished to the Defendant by way of regular U.S. Mail.

      IT IS FURTHER ORDERED that the United States Marshal notify the

Clerk’s Office upon receipt of this Order.



                                             Signed: June 13, 2006




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